  Case 4:21-cv-00579-P Document 21-1 Filed 06/23/21          Page 1 of 2 PageID 171



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS,
                         FORT WORTH DIVISION

STATE OF TEXAS,

             Plaintiff,                        Civil Action No. 4:21-cv-00579-P
                    v.
JOSEPH R. BIDEN, JR., et al.,

             Defendants.



                               [PROPOSED] ORDER

      The Plaintiff’s motion for a preliminary injunction is GRANTED.

      The Court concludes that Texas is likely to succeed on the merits of its

claims. Specifically, the Court concludes that Texas has experienced and will

continue to experience irreparable harm in the absence of a preliminary injunction.

The Defendants’ actions are arbitrary and capricious insofar as they failed to use a

reasoned decision-making process when they departed from their own procedures

under Title 42, and that they failed to consider Texas’s reliance interest in the

continuation of the program. The Court finds that the balance of equities favors

Texas, and the public interest supports a preliminary injunction.

      It is therefore ORDERED that:

   1. The Defendants cease all activities in furtherance of the February Order and

      resume activities in furtherance of the October Order, to include applying

      Title 42 to all covered aliens arriving at the United States Border, without

      categorically excepting classes of people, whether families, unaccompanied

      minors, or others.
                                           1
Case 4:21-cv-00579-P Document 21-1 Filed 06/23/21     Page 2 of 2 PageID 172



 2. The Defendants enforce the detention scheme required by 8 U.S.C. § 1222(a).



                             _________________________________________
                             MARK T. PITTMAN
                             UNITED STATES DISTRICT JUDGE




                                      2
